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    8
    9                        UNITED STATES DISTRICT COURT
   10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   11
   12 PARAMOUNT PICTURES                            Case No. 2:19-cv-01156-MWF(ASx)
      CORPORATION; COLUMBIA
   13 PICTURES INDUSTRIES, INC.;
      DISNEY ENTERPRISES, INC.;                     PLAINTIFFS’ SUPPLEMENTAL
   14 TWENTIETH CENTURY FOX FILM                    RULE 26(a)(1) INITIAL
      CORPORATION; WARNER BROS.                     DISCLOSURES
   15 ENTERTAINMENT INC.;
      UNIVERSAL CITY STUDIOS                        Judge: Hon. Michael W. Fitzgerald
   16 PRODUCTIONS LLLP; UNIVERSAL                   Magistrate Judge: Hon. Alka Sagar
      TELEVISION LLC; and UNIVERSAL
   17 CONTENT PRODUCTIONS LLC,
   18              Plaintiffs,
   19        vs.
   20 OMNIVERSE ONE WORLD
      TELEVISION, INC.; JASON M.
   21 DEMEO,
   22              Defendants.
   23
   24
   25
   26
   27
   28
                                                                             Case No. 2:19-cv-01156
                     PLAINTIFFS’ SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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    1         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs
    2 Paramount Pictures Corporation (“Paramount”), Columbia Pictures Industries, Inc.
    3 (“Columbia”), Disney Enterprises, Inc. (“Disney”), Twentieth Century Fox Film
    4 Corp. (“Fox”), Warner Bros. Entertainment, Inc. (“Warner Bros.”), Universal City
    5 Studios Productions LLLP, Universal Television LLC, and Universal Content
    6 Productions LLC (collectively, “Universal”) (collectively, “Plaintiffs”) hereby make
    7 the following supplemental initial disclosures.
    8                                            GENERAL STATEMENT
    9         Plaintiffs’ investigation and discovery in this action is continuing, and these
   10 disclosures reflect only the current status of their investigation of their claims.
   11 Plaintiffs reserve the right to supplement or amend these disclosures as additional
   12 information becomes known to them, although Plaintiffs undertake no affirmative
   13 obligation to do so beyond any obligations imposed by law.
   14 I.      Supplemental Documents Initial Disclosures, Rule 26(a)(1)(A)(ii)
   15         Plaintiffs provide the foregoing supplemental, but non-exhaustive1, list of
   16 Copyrighted Works and corresponding Certificates of Registration for titles, in
   17 addition to those identified in Exhibit A to Plaintiffs’ Complaint (Dkt. 1) that will be
   18 the subject of a damages claim in this litigation:
   19               Copyrighted Work ‐ Title            Copyright                    Plaintiff
                                                      Registration
   20        Secret Window                           PA 1204652      Columbia Pictures Industries, Inc.
             Big Fish                                PA 1195955      Columbia Pictures Industries, Inc.
   21                                                PA 1202550      Columbia Pictures Industries, Inc.
             50 First Dates
   22        10 Things I Hate About You              PA 931704       Disney Enterprises, Inc.
             A Bug’s Life                            PA 901890       Disney Enterprises, Inc.
   23
             Adventures in Babysitting               PA 327701       Disney Enterprises, Inc.
   24        Agents of S.H.I.E.L.D ‐ 1.1 Pilot       PAU 3700228     Disney Enterprises, Inc.
   25        American Housewife (Enemies: An Otto    PA 2157529      Disney Enterprises, Inc.
             Story)
   26
   27
        1
       This list of Works is not exhaustive and Plaintiffs reserve their rights to
   28 supplement the list of works after further investigation and discovery.

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    1       Beauty and the Beast                    PA 542647    Disney Enterprises, Inc.
            Black‐ish (Wilds of Valley Glen)        PA 2166940   Disney Enterprises, Inc.
    2       Black‐ish (Black Like Us)               PA 2171631   Disney Enterprises, Inc.
            Black‐ish (Waltz in a Minor)            PA 2179570   Disney Enterprises, Inc.
    3
    4       Black‐ish (Stand Up, Fall Down)         PA 2167354   Disney Enterprises, Inc.
            Black‐ish (Dreamgirls and Boys)         PA 2176659   Disney Enterprises, Inc.
    5       Cinderella                              L 2819; PA   Disney Enterprises, Inc.
                                                    1936883
    6       Con Air                                 PA 839644    Disney Enterprises, Inc.
    7       Cool Runnings                           PA 644591    Disney Enterprises, Inc.
            Deja Vu                                 PA 1341309   Disney Enterprises, Inc.
    8       Enchanted                               PA 1595126   Disney Enterprises, Inc.
            Enemy of the State                      PA 901888    Disney Enterprises, Inc.
    9
            Finding Dory                            PA 1994819   Disney Enterprises, Inc.
   10
            Finding Nemo                            PA 1146502   Disney Enterprises, Inc.
   11       Game Plan, The                          PA 1595275   Disney Enterprises, Inc.

   12       Grey's Anatomy (Shelter from the        PA 2171630   Disney Enterprises, Inc.
            Storm)
   13       Grey's Anatomy (Help I'm Alive))        PA 2179591   Disney Enterprises, Inc.
   14       Grey's Anatomy (The Winner Takes It     PA 2175208   Disney Enterprises, Inc.
            All)
   15       Grey's Anatomy (Girlfriend in a Coma)   PA 2175207   Disney Enterprises, Inc.

   16       Grey's Anatomy (I Walk the Line)        PA 2176660   Disney Enterprises, Inc.

   17       Herbie Fully Loaded                     PA 1267122   Disney Enterprises, Inc.

   18       How to Get Away with Murder (He         PA 2171632   Disney Enterprises, Inc.
            Betrayed Us)
   19
            How to Get Away with Murder (Don't      PA 2179585   Disney Enterprises, Inc.
   20       Go Dark On Me)
            How to Get Away with Murder (Be the     PA 2175212   Disney Enterprises, Inc.
   21       Martyr)
            How to Get Away with Murder (We         PA 2180244   Disney Enterprises, Inc.
   22       Know Everything)
            How to Get Away with Murder (Where      PA 2176661   Disney Enterprises, Inc.
   23       Are Your Parents)
            John Carter                             PA 1780295   Disney Enterprises, Inc.
   24       Jungle Book, The (2016)                 PA 1988129   Disney Enterprises, Inc.
            King Arthur                             PA 1233737   Disney Enterprises, Inc.
   25
            Maleficent                              PA 1899203   Disney Enterprises, Inc.
   26       McFarland, USA                          PA 1934603   Disney Enterprises, Inc.
            Miracle                                 PA 1213726   Disney Enterprises, Inc.
   27
            Monsters, Inc.                          PA 1038178   Disney Enterprises, Inc.
   28       National Treasure                       PA 1250540   Disney Enterprises, Inc.

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    1       National Treasure: Book of Secrets     PA 1597790      Disney Enterprises, Inc.
            Pearl Harbor                           PA 1037477      Disney Enterprises, Inc.
    2       Pretty Woman                           PA 454810       Disney Enterprises, Inc.
            Ratatouille                            PA 1354935      Disney Enterprises, Inc.
    3
            Remember the Titans                    PA 955468       Disney Enterprises, Inc.
    4       Sweet Home Alabama                     PA 1080536      Disney Enterprises, Inc.
            Tarzan                                 PA 939561       Disney Enterprises, Inc.
    5
            The Good Dinosaur                      PA 1969623      Disney Enterprises, Inc.
    6       The Jungle Book                        Lp 34804        Disney Enterprises, Inc.
            The Kids are Alright (The Love List)   PA 2166946      Disney Enterprises, Inc.
    7
            The Kids are Alright (Show Boat)       PA 2171629      Disney Enterprises, Inc.
    8       The Kids are Alright (Mailbox)         PA 2179580      Disney Enterprises, Inc.

    9       The Kids are Alright (Boxing)          PA 2164500      Disney Enterprises, Inc.
            The Lion King                          PA 659979       Disney Enterprises, Inc.
   10
            The Parent Trap                        Lp 19429; PA    Disney Enterprises, Inc.
   11                                              895669
            The Princess Diaries                   PA 1038174      Disney Enterprises, Inc.
   12       The Rock                               PA 792627       Disney Enterprises, Inc.
            The Rookie (2002)                      PA 1081073      Disney Enterprises, Inc.
   13
            The Village                            PA 1233786      Disney Enterprises, Inc.
   14       The Waterboy                           PA 901827       Disney Enterprises, Inc.
            Toy Story                              PA 765713       Disney Enterprises, Inc.
   15       Toy Story 2                            PA 959870       Disney Enterprises, Inc.
   16       Toy Story 3                            PA 1688323      Disney Enterprises, Inc.
            Unbreakable                            PA 1004607      Disney Enterprises, Inc.
   17       What About Bob?                        PA 518554       Disney Enterprises, Inc.
   18       DEAD MAN ON CAMPUS                     PA 932640       Paramount Pictures Corporation
            INTO THE WILD                          PA 3334927      Paramount Pictures Corporation
   19       ITALIAN JOB, THE (2003)                PA 1226857      Paramount Pictures Corporation
                                                   PA 1233942      Paramount Pictures Corporation
   20       MEAN GIRLS

   21       VANILLA SKY                            PA 1079397      Paramount Pictures Corporation
            127 Hours                              PA 1705419      Twentieth Century Fox Film Corporation
   22       9‐1‐1 (Buck, Actually)                 PA 2‐164‐731    Twentieth Century Fox Film Corporation
            Abraham Lincoln: Vampire Hunter        PA 1791872      Twentieth Century Fox Film Corporation
   23
            All About Eve                          Lp 572; R       Twentieth Century Fox Film Corporation
   24                                              680834
            Alvin and the Chipmunks                PA 1590098      Twentieth Century Fox Film Corporation
   25       Alvin And The Chipmunks: Chipwrecked   PA 1762300      Twentieth Century Fox Film Corporation
            Anastasia                              PA 839706; LP   Twentieth Century Fox Film Corporation
   26                                              7358; RE
                                                   205212
   27
            Avatar                                 PA 1395488      Twentieth Century Fox Film Corporation
   28       Black Swan                             PA 1709015      Twentieth Century Fox Film Corporation


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    1       Bob's Burgers (The Helen Hunt)         PA 2178499      Twentieth Century Fox Film Corporation
            Bob's Burgers (Live and Let Fly)       PA 2165321      Twentieth Century Fox Film Corporation
    2       Bob's Burgers (UFO No You Didn't)      PA 2166321      Twentieth Century Fox Film Corporation
            Bob's Burgers (Bed, Bob & Beyond)      PA 2175172      Twentieth Century Fox Film Corporation
    3
            Bride Wars                             PA 1614824      Twentieth Century Fox Film Corporation
    4       Brooklyn                               PA 1961804      Twentieth Century Fox Film Corporation
            Cast Away                              PA 1004609      Twentieth Century Fox Film Corporation
    5
    6       Chasing Mavericks                      PA 1810216      Twentieth Century Fox Film Corporation
            Cheaper By The Dozen 2                 PA 1276501      Twentieth Century Fox Film Corporation
    7       Date Night                             PA 1669165      Twentieth Century Fox Film Corporation
            Elektra                                PA 1253621      Twentieth Century Fox Film Corporation
    8
            Family Guy (Trump Guy)                 PA 2178526      Twentieth Century Fox Film Corporation
    9       Family Guy (Send in Stewie, Please)    PA 2106779      Twentieth Century Fox Film Corporation
            Family Guy (Bri, Robot)                PA 2175171      Twentieth Century Fox Film Corporation
   10
            Fresh Off the Boat (You've Got a       PA 2178467      Twentieth Century Fox Film Corporation
   11       Girlfriend)
            Home Alone 2: Lost In New York         PA 589187       Twentieth Century Fox Film Corporation
   12       Ice Age                                PA 1072377      Twentieth Century Fox Film Corporation
            Ice Age: Continental Drift             PA 1793948      Twentieth Century Fox Film Corporation
   13
            Ice Age: Dawn of the Dinosaurs         PA 1632003      Twentieth Century Fox Film Corporation
   14       John Tucker Must Die                   PA 1322812      Twentieth Century Fox Film Corporation

   15       Kingsman: The Secret Service           PA 1932938      Twentieth Century Fox Film Corporation
            Knight and Day                         PA 1681723      Twentieth Century Fox Film Corporation
   16
            Me, Myself & Irene                     PA 974012       Twentieth Century Fox Film Corporation
   17
            Modern Family (A Moving Day)           PA 2‐178‐655    Twentieth Century Fox Film Corporation
   18       Modern Family (On the Same Paige)      PA 2‐164‐544    Twentieth Century Fox Film Corporation

   19
            Modern Family (Blasts from the Past)   PA 2‐171‐150    Twentieth Century Fox Film Corporation
   20
            Modern Family (Whanex)                 PA 2‐171‐149    Twentieth Century Fox Film Corporation
   21       Modern Family (We Need to Talk         PA 2‐175‐188    Twentieth Century Fox Film Corporation
            About Lily)
   22       Mr. Popper's Penguins                  PA 1736596      Twentieth Century Fox Film Corporation
            Mrs. Doubtfire                         PA 659012; PA   Twentieth Century Fox Film Corporation
   23                                              659812
            Napoleon Dynamite                      PA 1222516      Twentieth Century Fox Film Corporation
   24
            Never Been Kissed                      PA 927303       Twentieth Century Fox Film Corporation
   25
            Planet Of The Apes                     LP 35407; PA    Twentieth Century Fox Film Corporation
   26                                              1039744; RE
                                                   707603
   27       Predators                              PA 1683294      Twentieth Century Fox Film Corporation
            Shallow Hal                            PA 1059052      Twentieth Century Fox Film Corporation
   28

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    1       Speed                                   PA 693038      Twentieth Century Fox Film Corporation
            Super Troopers                          PA 1038292     Twentieth Century Fox Film Corporation
    2       The Abyss                               PA 423008      Twentieth Century Fox Film Corporation
            The A‐Team                              PA 1679727     Twentieth Century Fox Film Corporation
    3
            The French Connection                   LP 40443; RE   Twentieth Century Fox Film Corporation
    4                                               812429
            The Happening                           PA 1597862     Twentieth Century Fox Film Corporation
    5       The Heat                                PA 1846168     Twentieth Century Fox Film Corporation

    6       The Martian                             PA 1958485     Twentieth Century Fox Film Corporation
    7       The Orville (Home)                      PA 2178662     Twentieth Century Fox Film Corporation
            The Resident (The Dance)                PA 2166333     Twentieth Century Fox Film Corporation
    8       The Ringer                              PA 1267460     Twentieth Century Fox Film Corporation
    9       The Simpsons (The Girl on the Bus)      PA 2170646     Twentieth Century Fox Film Corporation
            The Simpsons (Tree House of Horror      PA 2165406     Twentieth Century Fox Film Corporation
   10       XXIX)
            The Simpsons (Werking Mom)              PA 2165852     Twentieth Century Fox Film Corporation
   11       The Simpsons (I'm Dancing as Fat as I   PA 2186695     Twentieth Century Fox Film Corporation
            Can)
   12       The Wolverine                           PA 1849998     Twentieth Century Fox Film Corporation
   13       There's Something About Mary            PA 799034      Twentieth Century Fox Film Corporation
            This Means War                          PA 1773403     Twentieth Century Fox Film Corporation
   14       Waiting To Exhale                       PA 670807      Twentieth Century Fox Film Corporation

   15       Walk The Line                           PA 1267306     Twentieth Century Fox Film Corporation
   16       Wall Street                             PA 349001      Twentieth Century Fox Film Corporation
            Working Girl                            PA 399471      Twentieth Century Fox Film Corporation
   17       X‐Men Origins: Wolverine                PA 1624736     Twentieth Century Fox Film Corporation

   18       X‐Men: Apocalypse                       PA 1990291     Twentieth Century Fox Film Corporation
            X‐Men: Days Of Future Past              PA 1895709     Twentieth Century Fox Film Corporation
   19
            Young Frankenstein                      LP 44007       Twentieth Century Fox Film Corporation
   20                                               PA 2171872     Universal Content Productions LLC
            The Magicians (A Flock of Lost Birds)
   21                                               PA 2178128     Universal Content Productions LLC
            The Magicians (Lost, Found, Fucked)
   22       The Magicians (The Bad News Bear)       PA 2186727     Universal Content Productions LLC
            The Magicians (Marry Fuck Kill)         PA 2186731     Universal Content Productions LLC
   23       The Magicians (Escape from the Happy    PA 2186733     Universal Content Productions LLC
            Place)
   24       The Magicians (A Timeline and Place)    PA 2186735     Universal Content Productions LLC
   25       The Magicians (The Side Effect)
                                                    PA 2181542     Universal Content Productions LLC

   26       The Magicians (Home Improvement)        PA 2186090     Universal Content Productions LLC
            The Magicians (The Serpent)             PA 2186780     Universal Content Productions LLC
   27       The Magicians (All that Hard Glossy     PA 2188149     Universal Content Productions LLC
            Armor)
   28

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    1       The Magicians (The 4‐1‐1)                PA 2182279   Universal Content Productions LLC
            The Magicians (The Secret Sea)           PA 2193470   Universal Content Productions LLC
    2       The Magicians (No Better to be Safe      PA 2189704   Universal Content Productions LLC
            Than Sorry)
    3       Happy! (The War on Easter)               PA 2182272   Universal Content Productions LLC
    4       Happy! (Tallahassee)                     PA 2190303   Universal Content Productions LLC
            Happy! (Some Girls Need a Lot of         PA 2190307   Universal Content Productions LLC
    5       Repenting)
            Happy! (Blitzkrieg!!!)                   PA 2193450   Universal Content Productions LLC
    6       Happy! (19 Hours and 13 Minutes)         PA 2189717   Universal Content Productions LLC

    7       A.P. Bio (Happiness)                     PA 2186094   Universal Television LLC
            A.P. Bio (Nuns)                          PA 2186096   Universal Television LLC
    8       A.P. Bio (Wednesday Morning, 8am)        PA 2186657   Universal Television LLC
                                                     PA 2186659   Universal Television LLC
    9       A.P. Bio (Toledo's Top 100)
            A.P. Bio (J'Accuse)                      PA 2182249   Universal Television LLC
   10       A.P. Bio (Melvin)                        PA 2193481   Universal Television LLC
            A.P. Bio (Personal Everest)              PA 2189706   Universal Television LLC
   11
            A.P. Bio (Sweet Low Road)                PA 2189710   Universal Television LLC
   12       Brooklyn Nine‐Nine (Honeymoon)           PA 2165619   Universal Television LLC
            Brooklyn Nine‐Nine (Hitchcock &          PA 2171873   Universal Television LLC
   13       Scully)
            Brooklyn Nine‐Nine (The Tattler)         PA 2171875   Universal Television LLC
   14
            Brooklyn Nine‐Nine (Four Movements)      PA 2178125   Universal Television LLC
   15       Brooklyn Nine‐Nine (A Tale of Two        PA 2186303   Universal Television LLC
            Bandits)
   16       Brooklyn Nine‐Nine (The Crime Scene)     PA 2186285   Universal Television LLC
            Brooklyn Nine‐Nine (The Honeypot)        PA 2186300   Universal Television LLC
   17                                                PA 2186053   Universal Television LLC
            Brooklyn Nine‐Nine (He Said, She Said)
   18       Brooklyn Nine‐Nine (The Golden Child)    PA 2186052   Universal Television LLC
            Brooklyn Nine‐Nine (Gintars)             PA 2186699   Universal Television LLC
   19       Brooklyn Nine‐Nine (The Therapist)       PA 2186702   Universal Television LLC
   20       Brooklyn Nine‐Nine (The Bimbo)           PA 2193485   Universal Television LLC
            Brooklyn Nine‐Nine (Ticking Clocks)      PA 2193736   Universal Television LLC
   21                                                PA 2165631   Universal Television LLC
            Chicago Med (All the Lonely People)
   22       Chicago Med (Who Can You Trust)          PA 2177818   Universal Television LLC
   23       Chicago Med (The Things We do)           PA 2168330   Universal Television LLC
            Chicago Med (Ghosts in the Attic)        PA 2178196   Universal Television LLC
   24       Chicago Med (Can't Unring That Bell)     PA 2178193   Universal Television LLC
   25       Chicago Med (We Hold These Truths)
                                                     PA 2186311   Universal Television LLC

   26       Chicago Med (Old Flames, New Sparks)     PA 2183668   Universal Television LLC
            Chicago Med (The Space Between Us)       PA 2188155   Universal Television LLC
   27                                                PA 2190332   Universal Television LLC
            Chicago Med (Tell Me The Truth)
   28

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    1       Chicago Med (PA 2189409)                PA 2189409     Universal Television LLC
            Chicago PD (Brotherhood)                PA 2165632     Universal Television LLC
    2                                               PA 2172537     Universal Television LLC
            Chicago PD (Trust)
    3       Chicago PD (Outrage)                    PA 2168332     Universal Television LLC
    4       Chicago PD (Night in Chicago)           PA 2178198     Universal Television LLC
            Chicago PD (Ties that Bind)             PA 2178207     Universal Television LLC
    5       Chicago PD (Good men)                   PA 2186315     Universal Television LLC

    6       Chicago PD (The Forgotten)              PA 2181540     Universal Television LLC
            Chicago PD (Pain Killer)                PA 2188157     Universal Television LLC
    7       Chicago PD (This City)                  PA 2190327     Universal Television LLC
                                                    PA 2189411     Universal Television LLC
    8       Chicago PD (What could have been)
            Law & Order SVU (Plastic)               PA 2178129     Universal Television LLC
    9       Law & Order SVU (Dear Ben)              PA 2172536     Universal Television LLC
            Law & Order SVU (A Story of More        PA 2178178     Universal Television LLC
   10       Woe)
                                                    PA 2176314     Universal Television LLC
   11       Law & Order SVU (Part 33)

   12       Law & Order SVU (Brothel)               PA 2178184     Universal Television LLC
            Law & Order SVU (Facing Demons)         PA 2186313     Universal Television LLC
   13                                               PA 2182278     Universal Television LLC
            Law & Order SVU (Missing)
   14       Law & Order SVU (Blackout)              PA 2188154     Universal Television LLC
   15       Law & Order SVU (Dearly Beloved)        PA 2190326     Universal Television LLC
            Law & Order SVU (The Good Girl)         PA 2193471     Universal Television LLC
   16       Law & Order SVU (Exchange)              PA 2193742     Universal Television LLC
            Dial M For Murder                       Lp 4758; RE    Warner Bros. Entertainment Inc.
   17                                               131472
   18       Eraser                                  PA 799992      Warner Bros. Entertainment Inc.
            Eyes Wide Shut                          PA 965429      Warner Bros. Entertainment Inc.
   19       Fool's Gold                             PA 1596069     Warner Bros. Entertainment Inc.
            Selena                                  PA 873082      Warner Bros. Entertainment Inc.
   20
            Sudden Impact                           PA 223159      Warner Bros. Entertainment Inc.
   21       The Enforcer                            Lp 46851; RE   Warner Bros. Entertainment Inc.
                                                    907075
   22       The Hudsucker Proxy                     PA 694861      Warner Bros. Entertainment Inc.
            The Music Man                           Lp 27116; RE   Warner Bros. Entertainment Inc.
   23                                               434244
            American Sniper                         PA 1926861     Warner Bros. Entertainment Inc.
   24
            Arrow (Series) Various                  PA 1397684     Warner Bros. Entertainment Inc.
   25       August Rush                             PA 1593195     Warner Bros. Entertainment Inc.
            Conspiracy Theory                       PA 971872      Warner Bros. Entertainment Inc.
   26
            Grumpier Old Men                        PA 782251      Warner Bros. Entertainment Inc.
   27       Harry Potter and the Deathly Hallows:   PA 1742099     Warner Bros. Entertainment Inc.
            Part 2
   28       Harry Potter and The Sorcerer's Stone   PA 1063646     Warner Bros. Entertainment Inc.

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    1        Horrible Bosses                       PA 1397259     Warner Bros. Entertainment Inc.
             Lethal Weapon                         PA 324855      Warner Bros. Entertainment Inc.
    2        Lost Boys                             PA 368567      Warner Bros. Entertainment Inc.
             Man Of Steel                          PA 1850644     Warner Bros. Entertainment Inc.
    3
             Outbreak                              PA 699272      Warner Bros. Entertainment Inc.
    4        San Andreas                           PA 1946168     Warner Bros. Entertainment Inc.
             Space Jam                             PA 813952      Warner Bros. Entertainment Inc.
    5
             The Avengers                          PA 898024      Warner Bros. Entertainment Inc.
    6        The Bucket List                       PA 1594788     Warner Bros. Entertainment Inc.
             The Campaign                          PA 1820599     Warner Bros. Entertainment Inc.
    7
             The Color Purple                      PA 290480      Warner Bros. Entertainment Inc.
    8        The Fugitive                          PA 659535      Warner Bros. Entertainment Inc.
             The Goonies                           PA 262378      Warner Bros. Entertainment Inc.
    9        The Intern                            PA 1956935     Warner Bros. Entertainment Inc.
   10        The Last Samurai                      PA 1195970     Warner Bros. Entertainment Inc.
             The Rookie (1990)                     PA 492387      Warner Bros. Entertainment Inc.
   11        Trouble with the Curve                PA 1829355     Warner Bros. Entertainment Inc.
   12        U.S. Marshals                         PA 879253      Warner Bros. Entertainment Inc.
             We Are Marshall                       PA 1336625     Warner Bros. Entertainment Inc.
   13        We're the Millers                     PA 1865101     Warner Bros. Entertainment Inc.
             What's Up, Doc?                       Lp 41792       Warner Bros. Entertainment Inc.
   14
             Batman v. Superman: Dawn of Justice   PA 1981624     Warner Bros. Entertainment Inc.
   15
   16 II.     Supplemental Damages Initial Disclosures—Rule 26(a)(1)(A)(iii)
   17         In addition to injunctive relief, Plaintiffs seek to recover: (1) Omniverse’s
   18 profits, or statutory damages if so elected, resulting from Omniverse’s copyright
   19 infringement, to the full extent provided for by 17 U.S.C. § 504; and (2) their costs
   20 and attorneys’ fees and expenses incurred in this matter pursuant to 17 U.S.C. § 505,
   21 as well as prejudgment interest.
   22         To the extent Plaintiffs’ seek to recover statutory damages, the amount will be
   23 set by the jury, but subject to the statutory per-work range of $750 – $30,000 if the
   24 infringement is not willful and $750 – $150,000 if the infringement is found to be
   25 willful. 17 U.S.C. § 504(c)(1)-(2). The range of potential statutory damages is
   26 therefore $228,000 (304 Works multiplied by $750) to $45,600,000 (304 Works
   27 multiplied by $150,000).
   28

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     1        Computation of damages in the form of profits will be the subject of expert
     2 testimony, and Plaintiffs will make appropriate expert disclosures in accordance
     3 with Fed. R. Civ. P. 26(a)(2) and other local rules and/or Court orders. The amount
     4 of Plaintiffs’ costs and attorneys’ fees is not yet known because they continue to
     5 incur costs and fees.
     6
     7 DATED: October 23, 2019                MUNGER, TOLLES & OLSON LLP
     8
     9                                        By: /s/ Rose Leda Ehler
                                                  ROSE LEDA EHLER
    10
                                              Attorneys for Planitffs
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     1                                  PROOF OF SERVICE
     2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3        At the time of service, I was over 18 years of age and not a party to this
       action. I am employed in the County of Los Angeles, State of California. My
     4 business address is 350 South Grand Avenue, Fiftieth Floor, Los Angeles, CA
       90071-3426.
     5
              On October 23, 2019, I served true copies of the following document
     6 described as Plaintiffs’ Supplemental Rule 26(a)(1) Initial Disclosures on the
       interested parties in this action as follows:
     7
                                 SEE ATTACHED SERVICE LIST
     8
              BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
     9 the document(s) to be sent from e-mail address cynthia.soden@mto.com to the
       persons at the e-mail addresses listed in the Service List. I did not receive, within a
    10 reasonable time after the transmission, any electronic message or other indication
       that the transmission was unsuccessful.
    11
              I declare under penalty of perjury under the laws of the United States of
    12 America that the foregoing is true and correct and that I am employed in the office
       of a member of the bar of this Court at whose direction the service was made.
    13
              Executed on October 23, 2019, at Los Angeles, California.
    14
    15
                                                     /s/ Cynthia Soden
    16                                              Cynthia Soden
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